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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:22-cv-01129

  ERIC COOMER, PhD.,

        Plaintiff

  v.

  MICHAEL J. LINDELL, FRANKSPEECH LLC,
  AND MY PILLOW, INC.,

        Defendants


                                   EXHIBIT 19
       Case No. 1:22-cv-01129-NYW-SKC Document 244-1
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          From: Charles Herring
             To: Mike Lindell
            Cc: Robert Herring                   , Bobby Herring
        Subject: NewsWAX CAVES and ENRICHES Dominion's Eric Coomer
           Date: Fri, 30 Apr 2021 18:05:07 -0500
     Importance: Normal


   NewsWAX CAVES and ENRICHES Dominon’s director of product strategy and security, Eric Coomer, by settling!

   This demonstrates that Ruddy has no backbone and shows that his true colors are NOT red, white, and blue.

   NewsWAX empowers Eric Coomer with the funds to battle those fighting for fair elections, including President Trump,
   Giuliani, and OAN.

   NewsWAX has apologized for its reporting. NewWAX actions hurt those sticking up for Freedom of Press and our First
   Amendment.

   When its time to FIGHT, we find out who’s a boy and who’s a man. We know where NewsWAX sits – on the sidelines.

   Article: Newsmax Withdraws False Claims About 2020 Election : NPR




CONFIDENTIAL                                                                                               DEFS-000561
CONFIDENTIAL                                                                                            LINDELL-001303
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